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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,

       v.                                                        DECISION AND ORDER
                                                                      03-CR-211S

MARK HOFFMAN,

                     Defendant.




                                   I. INTRODUCTION

       Presently before this Court is Defendant Mark Hoffman’s petition for payment by the

government of attorney fees and costs that he incurred defending against the criminal

charges lodged against him. (Docket No. 294.) The petition is brought under the Hyde

Amendment, 18 U.S.C. § 3006A, which provides for such payment when a court finds that

the government’s position was vexatious, frivolous, or in bad faith. Also pending is the

government’s Motion to Dismiss the petition. (Docket No. 302.) For the following reasons,

the petition is denied and the government’s motion is denied as moot.

                                   II. BACKGROUND

       On July 30, 2007, a federal jury acquitted Defendant of one count of conspiracy to

commit bank fraud in violation of 18 U.S.C. §§ 371 and 2; two counts of wire fraud in

violation of 18 U.S.C. §§ 1343 and 2; and one count of mail fraud in violation of 18 U.S.C.

§§ 1341 and 2. (Docket Nos. 274, 338.) The charges stemmed from the government’s

belief that Defendant conspired with co-defendant Frank Peters and others to defraud

Chase Manhattan Bank out of approximately $10.5 million by falsely overvaluing corporate

assets used to secure and maintain a revolving line of credit provided by Chase.
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Familiarity with the facts and history of this case is presumed.1

       This Court entered the judgment of acquittal on August 20, 2007. (Docket No. 279.)

Thereafter, on September 18, 2007, Hoffman moved for payment of his attorney fees and

litigation expenses under the Hyde Amendment, Pub.L. No. 105-119, § 617, 111 Stat.

2440, 2519 (1997) (reprinted in 18 U.S.C. § 3006A, historical and statutory notes). (Docket

No. 294.) The government moved to dismiss the petition on October 19, 2007. (Docket

No. 302.)

       Defendant maintains that the government prosecuted him in bad faith and purposely

ignored evidence of his innocence. (Hoffman Affirmation, Docket No. 294, ¶ 6.) His claim

is grounded in his belief that (1) there was no credible, reliable proof that he engaged in

criminal conduct, (2) the government relied on culpable, unreliable witnesses, and (3) the

government failed to adequately investigate the case and review documents in its

possession.

       In particular, Defendant argues that a massive fraud upon Chase was already in

place when he joined World Auto Parts, perpetrated by individuals who the government

declined to prosecute in favor of using them as witnesses. He contends that none of these

individuals implicated him in the fraud, and in fact, the evidence demonstrated that he

acted affirmatively to stop the fraud, including retaining outside auditors to correct

accounting irregularities. Moreover, Defendant contends that the government failed to

review or ignored evidence showing that he properly documented the financial relationship

between ITEC and World Auto Parts, which Defendant believes belies any notion that he


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         For further background, see United States v. Peters, No. 03-CR-211S, 2010 W L 5392645
(W .D.N.Y. Dec. 21, 2010) (new trial) and 257 F.R.D. 377 (W .D.N.Y. 2009) (forfeiture).

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conspired to defraud Chase. Further, Defendant maintains that the government ignored

the overwhelming amount of fraud conducted by its own witnesses, and then improvidently

relied on the word of these individuals to support its case against him. In Defendant’s view,

the totality of this conduct amounts to a prosecution brought and conducted in bad faith.

       The government categorically denies that it brought or conducted Defendant’s

prosecution in bad faith. To refute Defendant’s allegations, it sets forth, at length, the

investigation of Defendant’s conduct, the pretrial proceedings, and the trial evidence.

(Wylegala Affidavit, Docket No. 303, ¶¶ 3, 17-63.) It maintains that testimony from Ed

Greyeski, Ron Hall, Richard Samer, John Hariaczyi, and others, and other documentary

evidence, demonstrated that Defendant knew of and participated in fraudulent conduct

relating to ITEC, and participated by redirecting payments intended for World Auto Parts

to ITEC. (Wylegala Affidavit, ¶¶ 17-20, 22, 28-32.) The government also maintains that

Defendant never provided any exculpatory evidence for its review, and in fact, never filed

a pretrial memorandum or pretrial exhibit list. (Wylegala Affidavit, ¶¶ 12, 46, 49, 50.)

                                         III. DISCUSSION

A.     Legal Standard

       The Hyde Amendment, the text of which is set out in the margin,2 was “enacted as

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              During fiscal year 1998 and in any fiscal year thereafter, the court, in any
              crim inal case (other than a case in which the defendant is represented by
              assigned counsel paid for by the public) pending on or after the date of
              the enactm ent of this Act [Novem ber 26, 1997], m ay award to a prevailing
              party, other than the United States, a reasonable attorney’s fee and other
              litigation expenses, where the court finds that the position of the United
              States was vexatious, frivolous, or in bad faith, unless the court finds that
              special circum stances m ake such an award unjust. Such awards shall
              be granted pursuant to the procedures and lim itations (but not the burden
              of proof) provided for an award under section 2412 of title 28, United
              States Code. To determ ine whether or not to award fees and costs
              under this section, the court, for good cause shown, m ay receive

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part of P.L. 105-119, the $31.8 billion Commerce, Justice and State, the Judiciary, and

Related Agencies Appropriations Act of 1998, and is found as a statutory note to 18 U.S.C.

§ 3006A.” United States v. Schneider, 395 F.3d 78, 85 (2d Cir. 2005) (quoting United

States v. Gilbert, 198 F.3d 1293, 1298 (11th Cir. 1999)).

       The purpose of the amendment is “to penalize government for prosecutorial abuses

and to deter such inappropriate conduct.” Schneider, 395 F.3d at 86. To that end, the

Hyde Amendment permits an award of attorney fees and litigation expenses under certain

circumstances where “the position of the United States was vexatious, frivolous, or in bad

faith.” Pub.L. No. 105-119, § 617, 111 Stat. 2440, 2519. It also authorizes the court to

conduct a hearing concerning the propriety of the United States’s position, if the defendant

makes a substantial threshold showing of entitlement to relief, i.e., the possible existence

of substantial or significant vexatious, frivolous, or bad-faith conduct. See Schneider, 395

F.3d at 89-90.

       Because the Second Circuit has not yet parsed the statute’s “vexatious, frivolous,

or in bad faith” language, courts in this circuit have interpreted the terms according to their

ordinary meaning. See, e.g., United States v. Mitselmakher, No. 07-CR-37 (BMC), 2008

WL 5068609, at *7 (E.D.N.Y. Nov. 20, 2008); United States v. Schneider, 289 F. Supp. 2d

328 (E.D.N.Y. 2003). Bad faith, for example, has been construed as “not simply bad


               evidence ex parte and in cam era (which shall include the subm ission of
               classified evidence or evidence that reveals or m ight reveal the identity of
               an inform ant or undercover agent or m atters occurring before a grand
               jury) and evidence or testim ony so received shall be kept under seal.
               Fees and other expenses awarded under this provision to a party shall be
               paid by the agency over which the party prevails from any funds m ade
               available to the agency by appropriation. No new appropriations shall be
               m ade as a result of this provision.

Pub.L. No. 105-119, § 617, 111 Stat. 2440, 2519.

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judgment or negligence, but rather it implies the conscious doing of a wrong because of

dishonest purpose or moral obliquity; it contemplates a state of mind affirmatively operating

with furtive design or ill will.” Mitselmakher, 2008 WL 5068609, at *7 (quoting Schneider,

298 F. Supp. 2d at 331-32).

       To determine Hyde Amendment liability, the government’s position must be viewed

from the government’s perspective at the time, including evidence not presented at trial,

instead of through “twenty-twenty hindsight based solely on reasonableness.”

Mitselmakher, 2008 WL 5068609, at *7 (quoting United States v. Sherbourne, 249 F.3d

1121, 1127 (9th Cir. 2001)). In this regard, a “‘presumption of regularity supports . . .

prosecutorial decisions and, in the absence of clear evidence to the contrary, courts

presume that [prosecutors] have properly discharged their official duties.’” Mitselmakher,

2008 WL 5068609, at *7 (quoting United States v. Armstrong, 517 U.S. 456, 464, 116 S.Ct.

1480, 134 L.Ed.2d 687 (1996)).

       Importantly, it is the government’s “position” — the case as a whole — that must be

assessed: “trivial instances of offending conduct” do not give rise to liability, nor will “[a]n

acquittal, without more, . . . lead to a successful Hyde Amendment claim.” Schneider, 395

F.3d at 90 (“there must be substantial or significant vexatious, frivolous, or bad-faith

conduct”).   Nor does the Hyde Amendment “sanction poor judgment or myopia.”

Mitselmakher, 2008 WL 5068609, at *1. This is because “Congress’s intent was to ‘limit

Hyde Amendment awards to cases of affirmative prosecutorial misconduct, rather than

simply any prosecution which failed.’” Id. (quoting United States v. Knott, 256 F.3d 20, 29

(1st Cir. 2001)).



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B.      Analysis

        As an initial matter, there is merit to the government’s argument that Defendant’s

petition is procedurally defective.        The Hyde Amendment explicitly incorporates the

procedural requirements of the Equal Access to Justice Act, 28 U.S.C. §§ 2412, et seq.,

which provide as follows

                A party3 seeking an award of fees and other expenses shall,
                within thirty days of final judgment in the action, submit to the
                court an application for fees and other expenses which shows
                that the party is a prevailing party and is eligible to receive an
                award under this subsection, and the amount sought, including
                an itemized statement from any attorney or expert witness
                representing or appearing in behalf of the party stating the
                actual time expended and the rate at which fees and other
                expenses were computed.

28 U.S.C. § 2412(d)(1)(B) (footnote added).

        Here, Defendant’s “petition” consists only of a two-page, eight-paragraph affirmation

from Defendant and an unsworn memorandum of law. Nowhere does Defendant state or

allege that he is a qualifying “party” entitled to recovery under the statute, nor is there an

itemized statement from Defendant’s attorney detailing the time expended on Defendant’s

defense or the rate at which fees and expenses were computed. In fact, neither the

amount of fees nor expenses is included in the petition. Although dismissal on this basis

would be appropriate, even correction of these procedural errors would not save the

petition, for this Court finds that it fails on the merits.

        Extended discussion of the government’s response to Defendant’s petition is not

necessary, because Defendant fails to make even a threshold showing of substantial or


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        A non-corporate “party” under § 2412(d) is “an individual whose net worth did not exceed
$2,000,000" at the tim e the action was filed. 28 U.S.C. § 2412(d)(2)(B).

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significant bad faith.4 Worse, there is no substantiation of any of Defendant’s claims. At

best, the allegations, if true, amount to poorly-exercised prosecutorial discretion or

negligence, neither of which constitutes bad faith. To establish bad faith, Defendant must

submit evidence of a “conscious doing of a wrong because of dishonest purpose or moral

obliquity; it contemplates a state of mind affirmatively operating with furtive design or ill

will.” Mitselmakher, 2008 WL 5068609, at *7 (quoting Schneider, 298 F. Supp. 2d at 331-

32). He has not done so.

       In essence, Defendant challenges the government’s thoroughness and exercise of

its prosecutorial discretion. He claims that based on the evidence before it and the

potential credibility problems with its witnesses, the government should never have

prosecuted him. But the government is under no obligation to adopt a defendant’s view

of evidence or assessment of potential witnesses. In the government’s view, the evidence

supported the charges against Defendant and its witnesses’ testimony, if credited by the

jury, would further demonstrate Defendant’s guilt. The government must often take its

witnesses as it finds them in a criminal case; its reliance on less-than-stellar witnesses is

therefore not necessarily a sign of bad faith. See Schneider, 395 F.3d at 87 (holding that

“the shortcoming of witnesses who directly implicated [the defendant] in the crime are

inadequate to show that the Government lacked a reasonable legal basis for prosecution”).

       Defendant also argues that the government failed to adequately review documents

in its possession. Again, there is no evidence to support this allegation, which seems a

variation on the argument that the evidence simply did not support the prosecution. Even



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           Defendant does not allege or argue that the governm ent’s position was vexatious or frivolous.

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assuming that evidence was overlooked or not fully understood, there is no proof before

this Court to suggest, let alone establish, that the government’s failing was ill intended. At

best, if true, the failure to review evidence or properly investigate the case amounts to

negligence or bad judgment, neither of which is a path to liability under the Hyde

Amendment. See Mitselmakher, 2008 WL 5068609, at *11.

                                    IV. CONCLUSION

       Because Defendant has failed to establish that the government’s position in

prosecuting him was in bad faith, his petition for attorney fees and litigation expenses

under the Hyde Amendment will be denied.

                                        V. ORDERS

       IT HEREBY IS ORDERED, that Defendant Mark Hoffman’s Petition for Attorney

Fees and Expenses (Docket No. 294) is DENIED.

       FURTHER, that the government’s Motion to Dismiss the Petition (Docket No. 302)

is DENIED as moot, based on the denial of the Petition on the merits.


       SO ORDERED.


Dated: January 26, 2011
       Buffalo, New York
                                                           /s/William M. Skretny
                                                           WILLIAM M. SKRETNY
                                                                   Chief Judge
                                                           United States District Court




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